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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                            CASE NO.: 15-CV-61421-BLOOM/VALLE

  AIMEN SARSOUR,

         Plaintiff,

  v.

  SIMONS HALLANDALE, INC.,
  d/b/a SIMONS SPORTSWEAR,
  a Florida Corporation, DANI SHIMON,
  and ILAN SHIMON,

        Defendants.
  ____________________________________/

   AMENDEDJOINT MOTION FOR APPROVAL OF SETTLEMENT AND DISMISSAL
       WITH PREJUDICE AND INCORPORATED MEMORANDUM OF LAW

          Plaintiff, AIMEN SARSOUR (“Plaintiff”) and Defendants, SIMONS HALLANDALE,

   INC., ILAN SHIMON, and DANI SHIMON (“Defendants”) (hereinafter collectively referred to

   as the “Parties”), by and through their respective undersigned counsel and in accordance with

   the Court’s September 24, 2015 Order Denying Approval of Settlement, [ECF No. 27],hereby

   file this Amended Joint Motion for Court approval of the mutually-agreed upon terms and

   conditions of their settlement between them of Plaintiff’s claims under the Fair Labor Standards

   Act of 1938 (“FLSA”), 29 U.S.C. § 201, et. seq.

          If the Court approves the Parties’ Amended Settlement Agreement, the Parties

   respectfully request dismissal of the above-captioned action with prejudice, in its entirety, with

   the Parties to bear their own costs, fees, and expenses except as otherwise set forth in the

   Amended Settlement Agreement. In support thereof, the Parties state as follows:




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                      INTRODUCTION AND PROCEDURAL HISTORY

  1. On or about July 9, 2015, Plaintiff filed his Complaint for alleged unpaid overtime wages

     under the Fair Labor Standards Act, 29 U.S.C. §§ 201-219 (“FLSA”) against Defendants (the

     “Action”).

  2. The parties are represented by counsel experienced in the litigation of employment related

     matters, including actions filed pursuant to the FLSA.

  3. On or about September 10, 2015, the Parties entered into a settlement of the Action and

     executed a Settlement Agreement.

  4. Defendants deny any and all allegations of wrongdoing, liability or fault in the Action, and

     under the terms of the Settlement Agreement, do not admit liability. Plaintiff maintains that

     he is due unpaid overtime compensation. Therefore, this is a resolution of a disputed claim.

  5. To avoid the costs associated with continued litigation, and after detailed negotiations, the

     Parties reached a complete settlement of the claims asserted by Plaintiff. The parties have

     authorized the settlement and believe that its terms are fair and reasonable in all respects

     under the circumstances of this action.

  6. On or about September 22, 2015, the Parties filed their Joint Motion for Settlement Approval

     and for Dismissal with Prejudice, with a proposed order attached as an Exhibit. The

     Settlement Agreement was submitted to the Court for an in-camera inspection. [ECF No. 26].

  7. On or about September 24, 2015, the Court entered an Order Denying Approval of

     Settlement, [ECF No. 27], directing the Parties to file their Settlement Agreement and to

     comply with the remaining terms of said Order by September 30, 2015.

  8. In accordance with the Court’s September 24, 2015 Order and Lynn’s Food Stores, Inc. v.

     United States, 679 F.2d 1350 (11th Cir. 1982), the Parties seek Court approval of the



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     settlement of Plaintiff’s FLSA claims.       A copy of the proposed Amended Settlement

     Agreement is attached hereto as Exhibit “A.”

  9. The parties also condition this settlement on the Court retaining jurisdiction to enforce its

     terms.

         WHEREFORE, Plaintiffand Defendants jointly move for Court approval of their

   Amended Settlement Agreement and for the entry of the proposed Order being submitted

   contemporaneous with this Motion, following which the Parties jointly move that this case be

   dismissed with prejudice and that the case be closed.

                         MEMORANDUM OF LAW AND ARGUMENT

          There are two ways that FLSA claims may be settled, compromised, or released by an

   employee. Lynn’s Food Stores, 679 F.2d at 1352-53. The first, which has no application in the

   instant case, permits resolution of claims under the supervision of the United States Department

   of Labor. Id. The second, whichdoes apply in the instant case, permits judicial approval of

   disputed claims on terms that are fair and reasonable:

                 Settlements may be permissible in the context of a suit brought by
                 employees under the FLSA for back wages because initiation of
                 the action by the employees provides some assurance of an
                 adversarial context. The employees are likely to be represented by
                 an attorney who can protect their rights under the statute. Thus,
                 when the parties submit a settlement to the court for approval, the
                 settlement is more likely to reflect a reasonable compromise of
                 disputed issues than a mere waiver of statutory rights brought
                 about by an employer’s overreaching. If a settlement in an
                 employee FLSA suit does reflect a reasonable compromise over
                 issues, such as FLSA coverage or computation of back wages that
                 are actually in dispute, we allow the district court to approve the
                 settlement in order to promote the policy of encouraging settlement
                 of litigation.

  Id. at 1354; see alsoBrooks v. Continental Property Services, Inc., No. 6:07-cv-1513-ORL-

  19GJK, 2008 WL 781825 (M.D. Fla. Mar. 19, 2008) (approving FLSA settlement in accordance


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  with Lynn’s Food Stores); Swailes v. Surety Construction Co., No. 2:07-cv-279-FtM-29DNF,

  2008 WL 875981 (M.D. Fla. Mar. 27, 2008) (same).

         When asked to review and approve the terms of settlement under the FLSA, there is a

  “strong presumption” in favor of approval. Dail v. George A. Arab, Inc., 391 F. Supp. 2d 1142,

  1146 (M.D. Fla. 2005); Camp v. Progressive Corp., 2004 U.S. Dist. LEXIS 19172 (E.D. La.

  Sept. 23, 2004) (there is a “strong presumption in favor of finding a settlement fair) (citing

  Cotton v. Hinton, 559 F.2d 1326, 1331 (5th Cir. 1977)); see also Schottborgh v. Motor Car

  Concepts, II, Inc., 2009 WL 4730615, at *2 (M.D. Fla. Dec. 9, 2009) (“The Court should be

  mindful of the strong presumption in favor of finding a settlement fair.”); Tobar v. Khan, No.

  6:10–cv–239–Orl–22DAB, 2011 WL 564588, at *1 (M.D. Fla. Feb. 1, 2011), adopted at 2011

  WL 397898 (“Settlement in the amount of $850 to Plaintiff for unpaid wages and liquidated

  damages, and $1400 for attorney’s fees and costs is a fair and reasonable settlement” where there

  were disputed issues).

         The settlement here is the negotiated results of an adversarial proceeding, which itself is

  an indication of its fairness. In Lynn’s Food Stores, Judge Goldberg, sitting on the Eleventh

  Circuit by designation, noted that the initiation of the action by the employees provides some

  assurance of an adversarial context. Thus, when the parties submit a settlement to the court for

  approval, the settlement is more likely to reflect a reasonable compromise of disputed issues than

  a mere waiver of statutory rights brought about by an employer's overreaching. 679 F.2d at 1354.

          The Parties agree the proposed Amended Settlement Agreementis reasonable and fair,

   and that in arriving at the proposed settlement they considered: (1) liability disputes, including

   whether Plaintiff was compensated properly for all wages in accordance with the FLSA, (2)

   whether Plaintiff was exempt from the overtime requirements of the FLSA, (3) whether



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  Plaintiff is entitled to alleged liquidated damages and whether the alleged FLSA violations were

  willful, and (4) the likelihood of Plaintiff’s success on the merits.

         Under the factors outlined in Manson v. Wyndham Vacation Ownership, Inc., Case No.

  6:10-cv-1805-Orl-35GJK, 2012 WL 570060, at *1-2 (M.D. Fla. Feb. 17, 2012), the parties

  assert that: (1) there is absolutely no collusion behind the Agreement; (2) while not substantially

  complex, the expense and likely duration of the litigation would by far have exceeded the

  amount of the settlement reached; (3) settlement was reached relatively early in the

  proceedings, however, given the substantial amount of evidence, the number of witnesses

  involved, and the number of legal implications surrounding the case, this matter would have

  required extensive litigation and judicial involvement; (4) while Plaintiff alleged violations of

  the FLSA, there was also strong opposition and a possibility that Plaintiff would not have been

  able to prevail; (5) while too early to estimate with certainty the range of possible recovery for

  Plaintiff, there was potential of Plaintiff not recovering anything at all; and (6) in the opinions

  of counsel and their respective clients the settlement reached – including the separate amount

  negotiated for Plaintiff’s attorneys’ fees and costs - was in the best interest of the parties and

  represented a fair and reasonable compromise of disputed claims.

         The Parties have been represented by counsel experienced in FLSA litigation at all

  times. The Plaintiff filed a statement of claim in this matter, and Defendants’ counsel discussed

  the payroll and timesheet records for Plaintiff, and asserted that the amounts set forth in the

  statement of claim were not supported by the actual time records. Prior to settlement,

  Defendants’ Counsel communicated with Plaintiff’s Counsel and advised that Defendants

  would seek leave of Court to amend their affirmative defenses to assert the overtime exemption

  for managerial employees. Further, if this matter had not resolved, Defendants would have



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  sought leave to amend their affirmative defenses to allege the overtime exemption for

  commissioned employees of retail and service establishments.             Additionally, Defendants

  asserted that Plaintiff had sued the incorrect entity, denied the allegations of FLSA violations,

  and denied individual liability was appropriate in this case. Finally, Defendants asserted that

  even if their was a violation of the FLSA, they acted in good faith and had reasonable grounds

  for believing they were paying Plaintiff properly, thus Plaintiff would not be entitled to an

  award of liquidated damages. Plaintiff had completed drafting his amended complaint to add

  another entity as a defendant, but the case was resolved before the motion for leave and the

  amended pleading were filed.

         Defendants contend that the settlement amount being paid to Plaintiff (not including

  attorneys fees being paid to Plaintiff’s counsel) exceeds the total amounts of actual un-

  liquidated damages that the timesheet and payroll records indicate Plaintiff would be entitled to

  in the event he prevailed in this matter at trial. Defendants contend that Plaintiff’s maximum

  recovery Plaintiff could obtain at trial, assuming he could overcome all of the defenses raised or

  proposed to be raised by Defendants – is $10,879.74. Plaintiff had estimated his back pay to be

  $10,781.25. Taking into account the defenses in this matter, the expenses involved, and the risk

  that Plaintiff faces in the event he was to proceed to trial in this case, the Parties have agreed to

  settle this claim by having Defendants pay to Plaintiff $6,347.50, less applicable tax

  withholdings, as payment for all unpaid overtime wages.            Further, although Defendants

  maintain that they acted in good faith, and any violation of the FLSA was                 based on

  reasonable grounds, as part of this compromise they have agreed to pay Plaintiff an equal

  amount of back pay ($6,347.50) as liquidated damages. Therefore, the total amount being

  paid to Plaintiff ($12,695.00) exceeds the total amount of unpaid overtime Defendants’



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   contend the time records show Plaintiff would be entitled to if he prevails on all of his

   overtime claims at trial. The Defendants have also agreed to pay Plaintiff’s counsel an

   attorney’s fee and cost reimbursement in the total amount of $9,305.00, and the parties agree

   that this is fair and reasonable under the circumstances.

          Counsel have zealously represented their clients’ respective interests, and have

   negotiated a settlement that is acceptable to Plaintiff and Defendants. The Parties therefore

   request that the Court approve the Amended Settlement Agreement.A proposed Order

   accompanies this Motion.

         WHEREFORE, Plaintiff and Defendants respectfully request that the Court: (i) approve

  the terms and conditions of the Amended Settlement Agreement; (ii) dismiss the instant action in

  its entirety with prejudice, each party to bear its own costs, fees, and expenses except as

  otherwise set forth herein; and (iii) retaining jurisdiction to enforce the terms of the Parties’

  Amended Settlement Agreement should such enforcement be necessary.




  DATED this 30th day of September, 2015.

  Respectfully submitted,                                 Respectfully submitted,


  /s/ PaulF.Penichet                                      /s/ Joshua M. Entin
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                                             Hallandale, Inc., Dani Shimon and
                                             Ilan Shimon




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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 30th day of September 2015 I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record or pro se parties identified on the

  attached Service List in the manner specified, either via transmission of Notices of Electronic

  Filing generated by CM/ECF or in some other authorized manner for those counsel or parties

  who are not authorized to receive electronically Notices of Filing.


                                                       /s/Joshua M. Entin
                                                       JOSHUA M. ENTIN, ESQ.
                                                       FLORIDA BAR NO.: 493724




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                                        SERVICE LIST
                   United States District Court, Southern District of Florida
                                 Case No.: 15-cv-61421-Bloom


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